
PER CURIAM.
Pursuant to the prayer of a petition for certiorari because of an alleged conflict between the instant decision of the District Court of Appeal, Second District, and prior decisions of this Court, we issued the writ. Inasmuch as a jurisdictional conflict of decisions appeared questionable, we set the matter for hearing upon both jurisdiction and merits. Having heard oral arguments and upon further careful study of the record and briefs, we are now convinced that the District Court followed the prior decisions of this Court and did not render a decision in conflict therewith. In consequence of this view the writ of certiorari heretofore issued, is hereby discharged, Fla.App., 154 So.2d 905.
It is so ordered.
DREW, C. J., and THOMAS, O’CON^ NELL, CALDWELL and HOBSON (Ret.), JJ., concur.
